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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                             :
JOSEPH FREEMAN
                                             :

      v.                                     :     Civil Action No. DKC 07-0892
                                                   Criminal No. DKC 03-0194
                                             :
UNITED STATES OF AMERICA
                                             :

                               MEMORANDUM OPINION

      Presently pending and ready for resolution in this habeas

corpus action are numerous motions filed by Petitioner Joseph

Freeman:     a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 (ECF No. 254); a “motion to amend

and    supplement      facts    to        vacate     his    entire     conviction     or

alternatively [to] grant the pe[ti]tioner a bond motion” (ECF

No.   260)   (“first    motion       to    amend”);     a   “motion    to   compel    an

officer of the United States to perform his duty . . . and

motion to expand the record” (ECF No. 296) (“second motion to

amend”); and a “notice of Petitioner’s state conviction being

vacated” (ECF No. 306) (“third motion to amend”).                        The relevant

issues have been briefed and the court now rules pursuant to

Local Rule 105.6, no hearing being deemed necessary.                          For the

reasons that follow, Petitioner’s first motion to amend will be
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granted; his second and third motions to amend will be denied;

and his § 2255 motion, as amended, will be denied.1

I.     Background

       By a superseding indictment filed on September 8, 2003,

Petitioner Joseph Freeman was charged with participating in a

large-scale drug conspiracy.             On June 16, 2004, after a five-

week       trial,   the   jury   found       him   guilty    of     conspiracy     to

distribute five kilograms or more of cocaine and fifty grams or

more of cocaine base, in violation of 21 U.S.C. § 846, and four

counts of possession with intent to distribute 500 grams or more

of cocaine, in violation of 21 U.S.C. § 841(a)(1).

       At sentencing, Petitioner was assigned an adjusted offense

level of 40 based on the quantity of drugs attributable to him

       1
       A number of related motions will be summarily denied.
Concomitantly with his § 2255 petition, Mr. Freeman filed a
motion for release on a personal recognizance bond pending the
outcome of this proceeding. (ECF No. 255). That motion will be
rendered moot by the instant opinion and accompanying order.
Petitioner’s “motion for enlargement of time to respond to the
Government’s motion to dismiss” (ECF No. 266) is also moot,
insofar as the Government never filed a motion to dismiss.
Petitioner’s “motion for leave to amend o[r] supplement
pleadings” (ECF No. 273) seeks, in effect, the same relief that
will be denied on the basis of the motions decided herein.
Petitioner’s motion for appointment of counsel (ECF No. 274)
will be denied because Mr. Freeman has not demonstrated that his
petition involves exceptional circumstances.       See Cook v.
Bounds, 518 F.2d 779, 780 (4th Cir. 1975) (“[I]t is well settled
that in civil actions the appointment of counsel should be
allowed only in exceptional cases.”).     Finally, the documents
requested by Petitioner in correspondence dated July 11, 2008 –
which was docketed as a motion for copy work at the expense of
the Government (ECF No. 275) – have been provided at various
points over the course of the litigation.
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and the foreseeable use of a firearm by a co-conspirator.                                   He

acknowledged two prior felony convictions in the Circuit Court

for   Prince        George’s   County,       Maryland      –   specifically,         a    1992

conviction          for   assault     with    intent      to   disable       and    a     1994

conviction for possession of cocaine with intent to distribute –

resulting in his designation as a career offender, pursuant to

U.S.S.G. § 4B1.1, and placing him in criminal history category

VI.         Based on these specifications, the sentencing range was

from 360 months to life.               Petitioner was sentenced to concurrent

terms of imprisonment of 360 months to be followed by ten years

of supervised release.2                Judgment was entered on December 15,

2004.

        On appeal, Petitioner argued (1) that his sentence violated

the Sixth Amendment under the rule announced in United States v.

Booker,       543    U.S.   220     (2005);       (2)   that   the       court     erred    in

permitting          evidence     of    his    co-defendants’         confessions           and

certain hearsay statements; (3) that his trial counsel rendered

ineffective assistance; (4) that his convictions for possession

with intent to distribute violated the Double Jeopardy Clause of

the     Fifth       Amendment;      and   (5)      that    there     was     insufficient

evidence of his guilt.                The United States Court of Appeals for

the Fourth Circuit declined to review Petitioner’s ineffective

        2
       More specifically, Mr. Freeman was sentenced to ten years
of supervised release on the conspiracy count and concurrent
eight-year terms on the remaining counts.
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assistance claim, but affirmed on all other grounds.                                     See United

States v. Freeman, 167 F.App’x 953 (4th Cir. 2006).                                     The Supreme

Court of the United States denied his petition for a writ of

certiorari on November 13, 2006.                         See Freeman v. United States,

549 U.S. 1042 (2006).

        On   April        2,    2007,    Petitioner        filed       a     pro   se    motion    to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C.

§   2255.           (ECF       No.   254).         To    the      extent       this      motion    is

intelligible,           it      appears      to        raise     the       following       grounds:

(1) Petitioner was “tried and convicted by an unconstitutional

Jury Panel, in violation of the law”; (2) “[i]t was ‘Fraud Upon

The Court’ for the Government to prosecute a Possession With

Intent       to     Distribute          Drugs”;         (3)      “[t]he       U.S.       Sentencing

Guidelines [] infringe[d] upon the petitioner’s Fifth Amendment

Rights”;          (4)   “[t]his       case     involve[s]          court       officials      [who]

intentionally violated their A.B.A. Canon Codes”; and (5) his

trial counsel rendered ineffective assistance.                                     (Id. at 5-6,

“B”).

        On June 20, 2007, Petitioner filed his first motion to

amend,       in    which       he    appears      to    request        the    addition      of    two

grounds      to     his    § 2255       petition:          (1)     the     imposition       of    “an

additional Supervised Release Term beyond [Petitioner’s] maximum

guideline         range”       constituted        “Cruel         and     Unusual        Punishment,

unlawful confinement and an Ex Post Facto Clause violation,” and

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(2) “the statutory scheme under Title 18 U.S.C. [§] 3553 . . .

[impermissibly] allow[s] judge[s] to increase a defendant[’s]

punishment.”       (ECF No. 260, at 2, 5).           On July 17, 2007, the

Government filed its opposition to Petitioner’s § 2255 petition.

(ECF No. 261).

        In addition to filing his § 2255 petition in this court,

Petitioner also sought certain relief from the Circuit Court for

Prince George’s County in connection with his 1994 felony drug

conviction.       On April 11, 2006, Petitioner filed a pro se, ex

parte motion to obtain records and transcripts from the state

court     proceeding     and    “for    show   of   cause    to     collaterally

challenge [the] validity of convictions.”                (ECF No. 297-1, at

11).       More   than   two    years    later,     on   September     4,    2008,

Petitioner filed a motion for a writ of error coram nobis in the

Circuit Court, seeking a belated appeal in his 1994 felony drug

case.      (ECF No. 296-1, at 2).            That petition was granted on

October 9, 2009, and Petitioner noted an appeal to the Maryland

Court of Special Appeals on or about October 30, 2009.                    (Id. at

4).

        On June 14, 2010, Petitioner filed his second motion to

amend his § 2255 petition, arguing, inter alia, that the record

should reflect the “newly discovered evidence” indicating that

Petitioner is “no longer a career offender” based on the Circuit



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Court’s October 9, 2009 ruling.              (ECF No. 296, at 9).3               On June

29,   2010,   the    Government     filed    its    response        to     Petitioner’s

motion, arguing that any claim relating to Petitioner’s state

court conviction is barred as untimely.               (ECF No. 297).

      In an unpublished opinion issued on June 22, 2011, the

Maryland    Court    of   Special     Appeals   held     that       the     warrantless

search    yielding    the   cocaine     at   issue     in   Mr.     Freeman’s           1994

felony drug case violated the Fourth Amendment.                     (ECF No. 306-1,

at 10-14).     The charges against Petitioner were nolle prossed on

or about December 9, 2011.             On February 28, 2012, Petitioner

filed his third motion to amend that attaches a copy of the

Court of Special Appeals’ opinion and requests an order that

(1) “grant[s]       his     pending     2255    Habeas       Corpus          Petition”;

(2) “set[s] a court date for a hearing for re-sentencing;” and

(3) appoints counsel to represent him.               (ECF No. 306).

II.   Motions to Amend

      While the Rules Governing Section 2255 Proceedings do not

specifically address the procedure for amendments, “courts have

typically applied Federal Rule of Civil Procedure 15 to the

amendment of a § 2255 motion.”               United States v. Pittman, 209


      3
       In his motion, Petitioner incorrectly characterized                               the
Circuit Court’s October 9, 2009 ruling as evidence that                                  his
state court conviction has been vacated.    (ECF No. 296, at                             9).
As set forth above, that ruling only granted Petitioner                                  the
right to seek a belated appeal.     Mr. Freeman’s conviction                             was
not vacated until December 9, 2011.
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F.3d 314, 317 (4th Cir. 2000).                  Under Rule 15(a), a party may

amend a pleading once as a matter of course at any time within

twenty-one        days   after     service       of    the     response;          otherwise,

amendment is permissible only with the written consent of the

opposing party or upon obtaining leave of the court.                              Typically,

leave      to    amend    should       be   freely      given       “when       justice   so

requires,”       Fed.R.Civ.P.      15(a)(2),      and       should    be    denied      “only

when the amendment would be prejudicial to the opposing party,

there has been bad faith on the part of the moving party, or

amendment would be futile,” Matrix Capital Mgmt. Fund, LP v.

BearingPoint, Inc., 576 F.3d 172, 193 (4th Cir. 2009).

        Furthermore, any amendment to a § 2255 petition that seeks

to   add    one    or    more    new    claims    must       also    comply        with   the

applicable        statute   of     limitations.             Pursuant       to     28   U.S.C.

§ 2255(f), a federal prisoner must file a motion to vacate, set

aside, or correct his sentence within one year of the latest of

the following:

                (1) the date on which                 the     judgment       of
                conviction becomes final;

                (2) the date on which the impediment to
                making a motion created by governmental
                action in violation of the Constitution or
                laws of the United States is removed, if the
                movant was prevented from making a motion by
                such governmental action;

                (3) the date on which the right asserted was
                initially recognized by the Supreme Court,
                if that right has been newly recognized by

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               the Supreme Court and made retroactively
               applicable to cases on collateral review; or

               (4) the date on which the facts supporting
               the claim or claims presented could have
               been discovered through the exercise of due
               diligence.

      Here, Petitioner filed his first motion to amend on June

20, 2007 (ECF No. 260), approximately one month prior to the

Government’s response (ECF No. 261).               Thus, he is permitted to

add the two new grounds of relief raised therein as a matter of

course under Rule 15(a).4           Moreover, because Petitioner filed the

first motion to amend within one year of the date when judgment

against the Petitioner became final, the newly raised grounds

are timely under 28 U.S.C. § 2255(f)(1).

      By contrast, Petitioner’s second and third motions to amend

– both of which were filed long after the Government filed its

response and thus can be granted only if the amendment would not

be futile – do not fare as well.              At bottom, both motions seek

to   add   a    new   claim   to    Petitioner’s    § 2255    petition     seeking

modification of Mr. Freeman’s sentence based on the vacatur of

his predicate 1994 state court conviction.                 Petitioner contends


      4
       As noted above, Petitioner’s new arguments are that:
(1) the imposition of “an additional Supervised Release Term
beyond [Petitioner’s] maximum guideline range” constituted
“Cruel and Unusual Punishment, unlawful confinement and an Ex
Post Facto Clause violation,” and (2) “the statutory scheme
under Title 18 U.S.C. [§] 3553 . . . [impermissibly] allow[s]
judge[s] to increase a defendant[’s] punishment.”    (ECF No.
260).
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that his new claim is timely because the vacatur constitutes “a

new ‘fact’ that start[ed] a one-year period in which to seek

collateral        review”      of    his     federal       sentence        pursuant    to

§ 2255(f)(4).          (ECF No. 296, at 9).          The Government rejoins that

Petitioner’s new claim is barred pursuant to the United States

Supreme Court’s decision in Johnson v. United States, 544 U.S.

295 (2005), because Petitioner did not pursue vacatur with the

due diligence required by § 2255(f)(4).5                     The argument advanced

by the Government is persuasive.

       In Johnson, the Supreme Court confirmed that the vacatur of

a state court conviction upon which a federal sentence is based

constitutes a matter of “fact” for purposes of § 2255(f)(4).

Johnson, 544 U.S. at 302; cf. Custis v. United States, 511 U.S.

485,       497   (1994)      (explaining     that     a    federal     defendant      who

successfully          challenges     a   state      conviction       may    “apply    for

reopening        of    any    federal      sentence       enhanced     by    the     state

sentences”).6         The Johnson Court further held that a petitioner’s

receipt of the vacatur order is the event that triggers the one-


       5
       Although it was raised in a brief filed prior to the
vacatur of Petitioner’s 1994 conviction, the Government makes
clear that its due diligence argument applies “[r]egardless of
the outcome of the belated appeal of his state conviction.”
(ECF No. 297, at 5).
       6
       Petitioner does not contend that any of the limitations
periods set forth in § 2255(f)(1)-(3) would be applicable to his
proposed new claim for modification of his sentence based on the
vacatur. (See ECF Nos. 296, 306).
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year statute of limitations period set forth in § 2255(f)(4).

Johnson, 544 U.S. at 307.                     To benefit from the new one-year

period,       however,        the     petitioner         must        also     demonstrate       due

diligence in seeking the vacatur.                            Id.; cf. United States v.

Williams,       162        F.App'x    254,    257-58         (4th    Cir.     2006)    (applying

Johnson’s        due       diligence        standard         to      the    newly     discovered

evidence exception to the mandate rule).                             The obligation to act

with    due     diligence          begins    on    the        date    of    judgment      in    the

petitioner’s federal case.                  Johnson, 544 U.S. at 309 (explaining

that, as between the date of indictment, the date of judgment,

and the date of finality after direct appeal, using the date of

judgment        as    the     trigger       for        the    due     diligence       obligation

represents           the    best      balance      between           serving     finality       and

minimizing collateral litigation).                            Applying these standards,

the Johnson Court held that the petitioner – who had waited more

than three years after judgment to attack the predicate state

conviction and offered “no explanation for this delay” – did not

act with due diligence and therefore was precluded from relying

on § 2255(f)(4).             Id. at 311.

        Here,    Mr.        Freeman    filed       his       third    motion     to    amend    on

February 28, 2012, just shy of three months after the Circuit

Court    for     Prince       George’s       County          nolle    prossed       the   charges

giving rise to his 1994 state court conviction.                                Thus, under the

first    part        of    Johnson’s     holding,        Petitioner’s          proposed     claim

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seeking modification of his sentence based on the vacatur would

be    well    within     the    one-year      statute         of   limitations       period

established      by     § 2255(f)(4).           The      inquiry        becomes     whether

Petitioner      acted    with    the   appropriate         level     of    diligence      in

seeking vacatur in the first instance.

       Pursuant to Johnson and Williams, the entry of the federal

judgment against Petitioner on December 15, 2004, triggered his

obligation to pursue vacatur with diligence.                            As indicated by

the transcripts from sentencing, Petitioner was aware that the

length of his sentence was based, in part, on his 1994 state

court conviction.             Thus, “the significance of inaction” (i.e.,

the significance of not challenging his state court conviction)

became clear no later than this date.                    Johnson, 544 U.S. at 309;

cf.    Williams,        162    F.App’x     at    258       (“The        [Johnson]     Court

determined that it was the possibility of an enhanced federal

sentence that would cause a defendant to recognize the need to

challenge the validity of his prior state convictions.”).7                                Yet

Petitioner did not file his motion for a writ of error coram

nobis seeking a belated appeal of the state court conviction

until September 4, 2008, a delay of three years and nine months.

As    the    Government       points   out,     this     is    far   longer       than    the

       7
       Indeed, as the Government points out, Petitioner likely
became aware of the role that his 1994 state court conviction
would play in his sentence as early as May 11, 2004, when he
received notice that the Government intended to seek an enhanced
penalty based on the conviction. (ECF No. 297, at 7).
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twenty-one     month       period        the    Johnson          Court     observed        would

constitute an “unreasonabl[e]” delay.                       Johnson, 544 U.S. at 311

(explaining that even if the period of delay was shortened from

three-plus    years       to    21    months,       petitioner       “would        still      have

delayed unreasonably”); see also In re Milton, 155 F.App’x 614,

617 (3d Cir. 2005) (petitioner did not display due diligence

because “[n]othing further occurred in th[e state court] case

until counsel was appointed on October 3, 1994 - 22 months after

[petitioner’s]       federal         sentence        was        imposed”);       Hamilton       v.

United States, Nos. CV408-138, CR405-121, 2008 WL 4533692, at *2

(S.D.Ga. Oct. 6, 2008) (“The Court finds that [petitioner’s] 21-

month     delay      in    filing         his       state        habeas        petition        was

unreasonable.”).

        In a footnote, the            Johnson        Court noted that where “the

facts    underlying       the    challenge          to    the    state-court        conviction

might themselves not be discoverable through the exercise of due

diligence until after the date of the federal judgment,” the due

diligence     obligation         could     be       triggered       at     a    later    point.

Johnson, 544 U.S. at 310 n. 8.                  This exception is not applicable

here    as   there    is       nothing    in     the      record     demonstrating            that

Plaintiff    pursued       vacatur       based       on    information         that     did    not

become discoverable until some point after the federal judgment.

According to the transcript from the hearing on the motion for a

writ of error coram nobis, Petitioner sought a belated appeal of

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his 1994 conviction based on his state court trial counsel’s

failure to note an appeal, despite Petitioner’s express request

for him to do so.           (See ECF No. 297-2, at 3).                   Nothing in the

record indicates that Petitioner mistakenly believed that his

state court counsel had noted an appeal.                      Even if Petitioner did

harbor     such   a    mistaken         belief,       however,       his      state    court

attorney’s error was certainly discoverable as of the date of

the federal judgment.            Likewise, according to the opinion of the

Maryland Court of Special Appeals that led to vacatur (ECF No.

306-1),     Petitioner’s             substantive       challenge         to     the     1994

conviction did not rely on any facts that were undiscoverable at

the time of the federal judgment.                      Instead, Petitioner argued

that the trial court committed legal error by (1) upholding the

constitutionality of the inventory search yielding the cocaine,

and (2) allowing the cocaine to be introduced into evidence

despite the prosecution’s failure to establish proper chain of

custody.     (Id. at 1).             Hence, because Petitioner’s challenge to

the state court conviction did not depend on facts that were

undiscoverable        at    the       time     of    the    federal        judgment,       the

exception contemplated by Johnson cannot be relied on here.

        As the Government concedes, Petitioner did file a pro se

motion to obtain records and transcripts relating to his state

court    proceedings       on    April       11,    2006,   approximately        seventeen

months    after   entry         of    judgment      against    him      in    the     federal

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proceedings.          (ECF No. 297, at 7; ECF No. 297-1, at 11).                          Per

the     state       court     docket,       that   motion        expressly     referenced

challenging the validity of the state court convictions.                                 (Id.)

After the state court responded by requesting payment for the

documents, Petitioner filed a second motion on July 6, 2006,

seeking       to     be   excused     from     paying      the    costs      due    to    his

indigence.          (ECF No. 297-1, at 12).           Petitioner did not file his

motion for a writ of error coram nobis until September 4, 2008,

twenty-six months later.

        Similar       facts    were     presented       in     Williams,       where       the

defendant       received      his     federal      sentence      in   August       1999   but

waited until April 2003 to seek modification of his predicate

state       court    convictions,       a   period    of     three-and-a-half        years.

162 F.App’x at 260.8           The Fourth Circuit noted that the defendant



        8
       Although Williams did not involve a § 2255 petition, the
Fourth Circuit’s holding is relevant to whether Mr. Freeman
diligently sought vacatur here.        In Williams, after the
defendant’s second appeal, the Fourth Circuit vacated the
sentence imposed by the trial court and remanded with explicit
and specific instructions regarding re-sentencing, including how
the defendant’s prior state court drug convictions should affect
the sentencing range.   162 F.App’x at 255.   Just prior to re-
sentencing in the district court, the defendant sought and
received an order from the state court retroactively modifying
his predicate convictions, which were changed from convictions
for the sale of crack cocaine to convictions for the possession
of crack cocaine.    Id.   In determining whether the district
court erred in refusing to deviate from the Fourth Circuit’s
remand instructions based on the modified convictions, the
Williams court considered the applicability of the “new
evidence” exception to the mandate rule and held that Johnson
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took “some limited action” in connection with challenging his

state    convictions       in   early    2000    –   approximately       five    months

after entry of the federal judgment – by requesting transcripts

from the earlier proceedings.              See id.       After his requests were

denied in April 2000, the petitioner’s “efforts then came to a

halt, to finally be revived in April 2003,” three years later.

Id.     The Fourth Circuit concluded that “requesting a transcript

(which,    so   far   as    the   record    reveals,       was   not    necessary      to

obtaining the modification of the state convictions) and then

abandoning the effort for three years” does not amount to the

exercise of due diligence.                Id.; see also In re Milton, 155

F.App’x at 617 (“Although a request for a transcript may be a

preliminary step toward challenging a conviction, the request by

itself does not show due diligence.”).

        Likewise here, it cannot be said that Petitioner’s efforts

to obtain the state court records amounts to the due diligence

required by § 2255(f)(4) and               Johnson.        Based on the present

record, the state court documents requested were not necessary

for    Petitioner     to    obtain      either   the     belated      appeal    of     the

conviction or the ultimate vacatur of the conviction.                           Indeed,

the transcript from the hearing on the motion for a writ of

error coram nobis makes clear that the Circuit Court granted the



was instructive because, like § 2255(f)(4), that exception
requires the exercise of due diligence. Id. at 256-57.
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writ based solely on Petitioner’s representation – which was not

corroborated by anything in the state court docket – that his

trial counsel ignored his request to pursue an appeal.                           (See ECF

No. 297-2, at 4-5).            Likewise, the Maryland Court of Special

Appeals     declared   the     cocaine-yielding            inventory      search      to   be

unconstitutional       based      on        its     interpretation         of    a    local

ordinance that was not cited by either party in the proceedings

below or on appeal.          (See ECF No. 306-1).                Moreover, Petitioner

waited seventeen months after sentencing to seek the records,

far    longer   than    the    five-month           period     between     the       federal

judgment and the requests for transcripts at issue in Williams.

Finally, as in Williams, Petitioner’s efforts to challenge his

state court conviction “came to a halt” after July 2006, as he

waited an additional 26 months to file his motion for a writ of

error coram nobis.

       Of   course,    in    evaluating           due   diligence,       the    individual

circumstances of the petitioner should be considered, “including

the    practical      realities        of     the       petitioner’s      confinement.”

United States v. Longshore, 644 F.Supp.2d 658, 662 (D.Md. 2009)

(citing Jones v. United States, 20 F.App’x 520, 523 (7th Cir.

2001)).     Importantly, however, it is the Petitioner’s burden to

demonstrate due diligence.             McKinnon v. United States, Civ. No.

CCB–12–179, Crim. No. CCB–08–049, 2012 WL 2564723, at *2 (D.Md.

June 29, 2012).         Here, Petitioner never directly responded to

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the    Government’s    arguments      regarding     due   diligence    and    never

provided any explanation of his delay in seeking vacatur.9                     That

Petitioner is proceeding pro se is not sufficient, in and of

itself, to excuse his lack of diligence.                  Johnson, 544 U.S. at

311    (rejecting     “pro     se    representation       alone   or   procedural

ignorance as an excuse for prolonged inattention” to challenging

predicate state court convictions); McKinnon, 2012 WL 2564723,

at *2 (the petitioner’s “lack of familiarity with the law and

poor advice from other inmates” was insufficient to establish

due diligence under § 2255(f)(4)).

       Based on the binding precedent set forth in Johnson and

Williams, Petitioner’s unexplained delay in seeking to overturn

the 1994 state court conviction cannot be deemed reasonable,

precluding     Petitioner’s         reliance   on   § 2255(f)(4).10          Hence,


       9
       In a handwritten affidavit filed with his original § 2255
motion, Petitioner avers that he “told [his federal court trial
counsel] to challenge his state conviction before we went to []
federal trial” and that his federal trial counsel responded to
this request by stating “that he needed more money.”    (ECF No.
254).   Even liberally construed, this statement does not offer
any explanation that would excuse Petitioner’s lack of diligence
because it does not give rise to an inference that Petitioner
waited to seek vacatur on his own because of a mistaken belief
that his federal trial counsel was seeking such relief on his
behalf.     To the contrary, the affidavit establishes that
Petitioner knew his federal trial counsel would not challenge
the state court conviction absent additional payment.
       10
        Although Petitioner does not explicitly argue that
equitable tolling should apply to his proposed new claim, such
an argument also would be futile.   The Supreme Court has held
that a petitioner is “entitled to equitable tolling only if he
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Petitioner’s second and third motions to amend will be denied

because the proposed new claim relating to the vacatur of his

predicate state court conviction would not be timely.

III.           Motion to Vacate

       A.      Standard of Review

       Title    28,   §   2255,    requires     a   petitioner       to   prove     by   a

preponderance of the evidence that “the sentence was imposed in

violation of the Constitution or laws of the United States, or

that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack[.]”                        28 U.S.C.

§ 2255(a).        A pro se petitioner, such as Mr. Freeman, is, of

course, entitled to have his arguments reviewed with appropriate

consideration.        See Gordon v. Leeke, 574 F.2d 1147, 1151-52 (4th

Cir. 1978).       Where, however, a § 2255 petition, along with the

files   and     records    of     the   case,   conclusively         shows   that     the

petitioner is not entitled to relief, a hearing on the motion is




shows (1) that he has been pursuing his rights diligently, and
(2) that some extraordinary circumstance stood in his way and
prevented timely filing.”    Holland v. Florida, ––– U.S. ––––,
130 S.Ct. 2549, 2562 (2010) (internal quotations omitted)
(emphasis added); see also United States v. Prescott, 221 F.3d
686, 688 (4th Cir. 2000) (equitable tolling should be “sparingly
granted”). As explained above, Petitioner has not demonstrated
the diligent pursuit of his rights in connection with
challenging his state court conviction and therefore is not
entitled to equitable tolling.
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unnecessary           and    the   claims      raised      therein       may      be       dismissed

summarily.        See 28 U.S.C. § 2255(b).

         B.     Analysis

         The    grounds      raised       in   Petitioner’s        §     2255     motion         –   as

supplemented by the first motion to amend – are without merit.

As to most of these claims, Mr. Freeman does little more than

broadly assert vague allegations of error – e.g., “petitioner

was tried and convicted by an unconstitutional Jury Panel, in

violation        of    the     law”   –    which      he   then    supports        with         wholly

inapposite legal principles – e.g., that the above error was “a

violation of the ‘Separation of Power’ doctrine for a trial

judge to ‘delegate’ his or her ‘Judicial Power’ to 12 citizens

on   a    Jury        Panel,    to    make     the     final      resolution           .    .    .   on

petitioner’s guilty verdict, without causing a ‘Miscarriage of

Justice.’”            (ECF No. 254, at 5).                 Deciphering the meaning of

such arguments is, at best, guesswork.                             Nevertheless, all of

these         claims    generally         fall     into     one     of      two    categories:

(1) those that are procedurally barred by virtue of the fact

that they were either not raised or previously decided on direct

appeal, and (2) bald allegations of ineffective assistance of

trial counsel.

         1.     Procedural Default

         The ordinary rule is that “an error can be attacked on

collateral review only if first challenged on direct review.”

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United States v. Harris, 183 F.3d 313, 317 (4th Cir. 1999); see

also United States v. Sanders, 247 F.3d 139, 144 (4th Cir. 2001)

(“[h]abeas review is an extraordinary remedy and will not be

allowed to do service for an appeal”) (internal quotation marks

and    citation    omitted).        Where      a    petitioner     has       procedurally

defaulted      a   constitutional       claim       by   failing      to    raise    it     on

direct appeal, it may be raised for the first time in a § 2255

motion only upon a showing of either “cause and actual prejudice

resulting      from     the    errors    of        which    he    complains,”         or    a

demonstration that “a miscarriage of justice would result from

the refusal of the court to entertain the collateral attack.”

United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir.

1999).

        A showing of cause for a procedural default “must turn on

something external to the defense, such as the novelty of the

claim     or   a    denial     of   effective            assistance        of    counsel.”

Mikalajunas, 186 F.3d at 493.                  To establish actual prejudice,

the petitioner must show that the error worked to his “actual

and    substantial      disadvantage,”        rather       than   merely        creating    a

possibility of prejudice.           Murray v. Carrier, 477 U.S. 478, 494

(1986).     A petitioner demonstrates that a miscarriage of justice

would    result    if   the    court    does       not     consider    a     procedurally

defaulted      claim    by    showing    “actual         innocence         by   clear      and

convincing evidence” – in other words, “actual factual innocence

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of the offense of convictions, i.e., that petitioner did not

commit the crime of which he was convicted[.]”                             Mikalajunas, 186

F.3d at 494.

          Here, Petitioner was required to raise the following claims

on    direct     appeal,      if    at     all:    (1)    that     the     jury    panel      was

allegedly        “unconstitutional”;          (2)    that      “it   was      fraud    on     the

court for the government to prosecute [him for] possession with

intent to distribute drugs” because the jury could not determine

his “mental intent” to distribute drugs; (3) that the sentencing

guidelines “infringe[d] upon [his] Fifth Amendment [r]ights”;

(4)       that   “court       officials       intentionally          violated”        ethical

principles because the court was “swayed” by “bad provisions of

the    law”;      (5)    that      the    imposition        of     concurrent       terms      of

supervised release constituted “Cruel and Unusual Punishment,

unlawful confinement and an Ex Post Facto Clause violation”; and

(6) that “the statutory scheme under Title 18 U.S.C. [§] 3553 .

.     .     [impermissibly]              allow[s]        judge[s]        to     increase        a

defendant[’s] punishment.”                 To the extent that these claims were

not raised on direct appeal, Petitioner bears the burden of

showing either cause and actual prejudice resulting from the

alleged error, or that he is actually innocent of the crimes for

which he stands convicted.                He had made no such showing here.

          It appears, moreover, that at least one of these issues was

addressed        by     the   Fourth       Circuit.           On     appeal,       Petitioner

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challenged the “the sufficiency of the evidence, claiming there

was no tangible evidence linking him to the charges and the

witnesses against him were not credible.”                      Freeman, 167 F.App’x

at 954.       The appellate court determined that this argument was

“without merit,” specifically finding that “there was sufficient

evidence          to    establish      Freeman      possessed      with    intent       to

distribute         at   least   500    grams     of    cocaine    on   four     separate

occasions as a result of evidence of his trips to California.”

Id.    at    955.        Petitioner’s     second      ground     for   relief      in   the

instant motion may be read as a challenge to the sufficiency of

evidence of his intent to distribute cocaine.                          To the extent

that this argument was addressed on direct appeal, it is not

cognizable in his § 2255 motion.                       Johnson v. United States,

No[s]. Civ. PJM-08-2623, Crim. PJM 02-0178, 2010 WL 2573212, at

*2 (D.Md. June 22, 2010) (“petitioner may not, through a habeas

petition,         relitigate    an    issue     previously     rejected       on    direct

appeal”) (citing Boeckenhaupt v. United States, 537 F.2d 1182,

1183 (4th Cir. 1976)).

       In any event, each of the six grounds set forth above has

been procedurally defaulted.                  See United States v. Konsavich,

Crim.       No.    5:05-CR-00019,        Civ.    No.     5:08-CV-80100,         2009     WL

1759555, at *10 (W.D.Va. June 19, 2009) (“[C]laims [that] were

either not raised on direct appeal or raised and decided by the

Court of Appeals . . . are procedurally defaulted.”).                              Because

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Petitioner fails to show either actual innocence or cause and

prejudice, the merits of these grounds will not be reached.

     2.      Ineffective Assistance of Counsel

     The     sum   and     substance        of    Petitioner’s       ineffective

assistance claims consists of what appears to be an excerpt from

an unrelated motion setting forth the relevant legal standard

and the following six allegations:

             [1]. Trial counsel      []     failed     to   challenge
             the indictment[;]

             [2]. Trial counsel [] failed to                 properly
             file adequate pretrial motions[;]

             [3]. Trial counsel [] failed to challenge
             the Constitutionality of the U.S. Sentencing
             Guideline[s], swayed judge’s decision to
             violate the Double Jeopardy Clause[;]

             [4]. Trial counsel [] failed to object to
             the court imposing a consecutive sentence of
             Supervised Release Term[;]

             [5]. Trial counsel [] failed to argue[] the
             unconstitutionality of the Grand Jury and
             Jury   Panel,   as   well   as  a   tainted
             indictment[;]

             [6]. Trial counsel [] engage[d] in[] a
             “Fraud Upon The Court” by allowing the
             Government to expose the defendant to a
             miscarriage of justice.

(ECF No. 254, at “B”).

     These    claims     are   governed     by   the   well-settled      standard

adopted by the Supreme Court in Strickland v. Washington, 466

U.S. 668 (1984).         Pursuant to Strickland, the petitioner must


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show both (1) that the performance of his attorneys fell below

an objective standard of reasonableness and (2) that he suffered

actual    prejudice.          See     Strickland,        466     U.S.    at     687.      To

demonstrate       actual      prejudice,         he    must     show     a     “reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.”                                Id. at

694.

       In applying Strickland, a strong presumption exists that

counsel’s       conduct    falls      within      a    wide    range     of    reasonably

professional conduct, and courts must be highly deferential in

scrutinizing counsel’s performance.                   See id. at 688-89; Bunch v.

Thompson,       949    F.2d     1354,       1363       (4th     Cir.     1991).          The

reasonableness of attorney conduct must be judged “as of the

time    their    actions      occurred,       not     the     conduct’s       consequences

after the fact.”          Frye v. Lee, 235 F.3d 897, 906 (4th Cir. 2000).

Furthermore, a determination need not be made concerning the

attorney’s performance if it is clear that no prejudice would

have     resulted      even     had     the      attorney’s           performance      been

deficient.       See Strickland, 466 U.S. at 697.

       As to the first allegation, Petitioner has not suggested

the    manner    in   which    his    counsel         should    have    challenged       the

indictment.           Even    if      Mr.     Freeman         could     show    deficient

performance, he has made no showing of prejudice, nor could he

under the circumstances of this case.                          See United States v.

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Mechanik, 475 U.S. 66, 73 (1986) (“[T]he petit jury’s verdict

rendered harmless any conceivable error in the charging decision

that might have flowed from the violation.”); see also White v.

United States, Civ. No. WDQ-06-2875, Crim. No. WDQ-03-0375, 2007

WL 2461051, at *5 (D.Md. Aug. 24, 2007) (“Any error in [the

petitioner’s] grand jury proceedings was rendered harmless by

the     trial    jury’s          determination        of        his   guilt.”           (citing

Mechanik)).

       Similarly,      with        respect       to       the     second         allegation,

Petitioner      has   not    identified       any     pretrial        motions          that   his

counsel should have filed.               Nor has he alleged, much less shown,

a     “reasonable       probability,”            that       “but           for     counsel’s

unprofessional errors, the result of the proceeding would have

been different.”       Strickland, 466 U.S. at 694.

       Petitioner’s     third       allegation        –    i.e.,      that       his    counsel

rendered     ineffective         assistance      by   failing         to    challenge         the

constitutionality           of     the     sentencing            guidelines,            thereby

resulting in a Double Jeopardy violation – appears to relate to

a   claim    specifically         considered     and       rejected        by    the     Fourth

Circuit.      Because this claim is meritless, his trial counsel’s

representation could not have been constitutionally deficient

for failing to raise it.              See Baker v. Corcoran, 220 F.3d 276,

293 n. 15 (4th Cir. 2000).



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        The fourth ground, that trial counsel failed to object to

the imposition of consecutive terms of supervised release, is

belied        by    the    judgment       of    conviction,        which     reflects       that

Petitioner          was    sentenced       to   concurrent         terms     of    supervised

release.

        Petitioner         has    not    identified        the   basis      upon    which    his

counsel       should       have    challenged        the    constitutionality          of    the

grand    or        petit   juries,       his    fifth      allegation       of     ineffective

assistance.               Thus,    he     has    not       shown    any      deficiency       in

performance or prejudice resulting therefrom.

        Finally, his sixth allegation – that his counsel somehow

engaged in “fraud upon the court” by “allowing the Government to

expose the defendant to a miscarriage of justice” – is similarly

undeveloped and finds no support in the record.

IV.     Conclusion

        For    the    foregoing         reasons,     Petitioner’s         first     motion   to

amend will be granted; his second and third motions to amend

will be denied; and his motion to vacate, set aside, or correct

his sentence (as amended) will be denied.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

Under 28 U.S.C. § 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final     order       adverse      to     the    applicant.           A     certificate       of

appealability is a “jurisdictional prerequisite” to an appeal

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from the court’s earlier order.                  United States v. Hadden, 475

F.3d 652, 659 (4th Cir. 2007).                  A certificate of appealability

may issue “only if the applicant has made a substantial showing

of     the   denial    of    a   constitutional            right.”         28   U.S.C.    §

2253(c)(2).      Where the court denies petitioner’s motion on its

merits, a petitioner satisfies this standard by demonstrating

that reasonable jurists would find the court’s assessment of the

constitutional claims debatable or wrong.                         Slack v. McDaniel,

529 U.S. 473, 484 (2000); see also Miller–El v. Cockrell, 537

U.S.    322,   336–38       (2003).    Where          a   motion     is    denied    on   a

procedural ground, a certificate of appealability will not issue

unless the petitioner can demonstrate both “(1) that jurists of

reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and (2) that

jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.”                         Rose v. Lee, 252

F.3d 676, 684 (4th Cir. 2001) (internal quotation marks omitted).

Petitioner      does    not      satisfy        the       above    standard,        and   a

certificate of appealability will not issue.

       A separate order will follow.



                                      _______/s/__________________
                                      DEBORAH K. CHASANOW
                                      United States District Judge



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